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     EXHIBIT B
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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF RAMSEY                                               SECOND JUDICIAL DISTRICT

                                                                       CASE TYPE: Other Civil


LW., by and through her parent                                    Court File No.
and legal guardian, Latasha Tolbert,
and individually M.D., by and through her
grandparent and guardian, Vanessa Boyd,                               SUMMONS
and individually, A.I, by and through her parents
and guardians, Catrice Ingram and
Miguel Jones, and individually,

                      Plaintiffs,

v.

Saint Paul Public Schools
Independent School District No. 625,
Saint Paul Public Schools Board of
Education, Jayne Ropella, individually
and in her representative capacity as
Principal, and Timothy M. Olmsted,
individually and in his representative                      JURY TRIAL REQUESTED
capacity as a teacher

                      Defendants.



TO: The Above-named Defendants, by and through their representative, Jean O'Connell,
      Chair of the Saint Paul Public Schools Board of Education, 888 Ivy Avenue West, Saint
      Paul, Minnesota 55117, Jayne Ropella, in her individual and representative capacity,
      1863 Clear Avenue, Saint Paul, Minnesota 55119, and Timothy M. Olmsted, 572 North
      Hazel Street, Saint Paul, Minnesota.

       You are hereby summoned and required to serve upon plaintiffs attorneys an Answer to

the Complaint that is herewith served upon you within twenty (20) days after service of this

summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will

be taken against you for the relief demanded in the complaint. Under Minnesota law, you may
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request the use of means other than trial to settle this dispute. Alternatives include mediation,

arbitration, and other methods set forth in the District Court Rules.

                                      Respectfully submitted,

                                      KANE EDUCATION LAW, LLC.



Dated: 16 May 2012
                                      Marg.                 ane /ID # 220243
                                      Attorne for P ntiffs
                                      1654 Gran• Avenue
                                      Suite 200
                                      Saint Paul, Minnesota 55105
                                      651/222-8611
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STATE OF MINNESOTA                                                           DISTRICT COURT

COUNTY OF RAMSEY                                               SECOND JUDICIAL DISTRICT

                                                                      CASE TYPE: Other Civil


J.W., by and through her parent                                   Court File No.
and legal guardian, Latasha Tolbert,
and individually M.D., by and through her
grandparent and guardian, Vanessa Boyd,                              AMENDED COMPLAINT
and individually, A.I, by and through her parents
and guardians, Catrice Ingram and
Miguel Jones, and individually,

                       Plaintiffs,

v.

Saint Paul Public Schools
Independent School District No. 625,
Saint Paul Public Schools Board of
Education, Jayne Ropella, individually
and in her representative capacity as
Principal, and Timothy M. Olmsted,
individually and in his representative                     JURY TRIAL REQUESTED
capacity as a teacher

                       Defendants.



       The Plaintiffs individually and as parents and guardians of the above-referenced minors

state the following:

                                           PARTIES

1.     Plaintiff Latasha Tolbert is the parent and natural guardian of her minor daughter J.W.

with whom she resides in Saint Paul, Minnesota.

2.     Plaintiff Vanessa Boyd is the grandparent and natural guardian of her minor

granddaughter M.D. with whom she resides in Saint Paul, Minnesota.


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3.     Plaintiff Catrice Ingram is the parent and natural guardian of her minor daughter A.I. with

whom she resides in Saint Paul, Minnesota.

4.     Plaintiff Miguel Jones is the parent and natural guardian of his minor daughter A.I.

5.     At all times relevant herein, the minor children were sixth graders attending and enrolled

in the Heights Community School (Heights) in the Saint Paul Public Schools in Saint Paul,

Minnesota.

6.     Defendant Saint Paul Public Schools (SPPS) is a body politic and corporation as a public

school. Its principal place of business is 360 Colborne Street, Saint Paul, Minnesota.

7.     Defendants Jayne Ropella and Timothy Olmsted are individuals who, at all times relevant

to the Complaint, were employed by Saint Paul Public Schools at the Heights Community

School as principal and teacher, respectively.

                                 JURISDICTION AND VENUE

8.     This Court has jurisdiction of Plaintiffs' claims arising under the Minnesota Human

Rights Act, Ch. 363A, as well as the state tort claims alleged herein. Venue is proper in Ramsey

County Court as Defendant SPPS is located within Ramsey County, Minnesota. Plaintiffs'

claims arose in whole or in part in Ramsey County, Minnesota.


                             FACTS COMMON TO ALL CLAIMS

9.     Plaintiffs J.W., M.D., and A.I. are currently enrolled in the Heights Community School in

the sixth grade. None of these children have any history of school failure or inappropriate

behavior in the classroom setting.

10.    Defendant Olmsted was the minor Plaintiffs' teacher for the sixth grade for the

2011/2012 school year.



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11.    Defendant Ropella was and is the minor Plaintiffs' Principal at the Heights Community

School during the 2011/12 school year.

12.    Over the 2011/12 school year, Defendant Olmsted engaged in an almost daily pattern and

practice of making racial comments and inflicting emotional, mental and physical abuse,

including pushing the three minor children to the floor and throwing education materials at J.W.

13.    These comments and actions include, but are not limited to, the following:

   1. Physically assaulting three African American female children;
   2. Physically assaulting one African American female child by throwing her classroom
      planner at her and remarking how her mother was poorly educated;
   3. Aggressively moving the African American children's desks to the back of the classroom
      and spilling the content of their desks, only to force the children to clean up the mess that
      Defendant Olmsted created when he lost patience;
   4. Requiring the desks of some of the African American children to face the walls rather
      than toward the teacher;
   5. Making derogatory racial remarks targeted at the children and their parents including, but
      not limited to, "fat, black, and stupid", "fat, sloppy, and disgusting", "You will never
      amount to anything", "You only have one parent", "Your mother never went to college",
      "You know what? You are never going to get anywhere. You are going to be out on a
      street corner to get money";
   6. Asking an African American male student in a derisive tone "I bet you like those beans
      and rice — don't you?" in reference to black beans served during lunch;
   7. Denigrating African American students repeatedly in front of their white peers by
      announcing that their work had not been done properly;
   8. Persistently making derogatory disability-related remarks including, but not limited to,
      "Maryann is slower than you and even she gets her work done before you." This remark
      was made in front of Maryann, the entire class, and the African American students. No
      such remarks were ever made directly to white students;
   9. Destroying the educational materials and contents of two African American children's
      desks in front of the class, including taking down all of their pictures, paintings, and all
      other contributions to the class and placing them into bags that were given to the
      Students;
   10.Depriving two of the African American children their desks and the materials therein;
   11.Depriving two African American children access to their educational materials and
      requiring those children to sit in the back of the class at a table rather than a desk;




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      12.Retaliating against the child of a parent who provided a complaint to the administration
         by requiring her to complete homework that had already been completed and requiring
         her to complete school work that was not required of other students in the class;
      13.Falsely reporting to parents of African American children that they were not completing
         their work so they would be punished at home;
      14.Requiring African American children to pay for treats, juice, and classroom materials but
         not requiring that their white counterparts make such payments;
      15.Disciplining African American children for taking a treat or juice without paying for it
         while permitting white students to take a treat or juice without any consequences; and
      16.Depriving a disabled African American female student her specific special education
         materials (a writing prompt) and told by her teacher to "just give her something to do
         with balloons and maybe she will be able to do that".

14.      Defendant Olmsted also made the following inappropriate remarks to the entire sixth

grader class: "When I get home at night, I sit in my underwear in front of the TV, eat a steak,

drink a gallon of milk and think about you children." And "I don't use a towel when I shower

because my dog licks me dry."

15.      Plaintiffs J.W., M.D., and A.I., as well as Latasha Tolbert, on multiple occasions

complained to Defendant Ropella, who refused to consider the complaints from the minor

children and repeatedly assured Ms. Tolbert that she was "looking into it" and "would take care

of it." No investigation was initiated as a result of the reports.

16.      Plaintiff Latasha Tolbert telephoned and met with Defendant Ropella from late-

September 2011 until the date Defendant Olmsted was placed on paid administrative leave.

Plaintiff Tolbert's telephone records reflect 98 telephone calls in excess of 8 hours with

Defendant Ropella regarding the circumstances occurring in Olmsted's classroom.

17.      After multiple complaints to Defendant Ropella that went unanswered, Plaintiff Tolbert

went directly to the SPPS district office to speak with the Superintendent. She was denied a

meeting with the Superintendent and instead spoke with Andrew Collins and Julie Coffey.




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When those efforts too were ignored, Plaintiff Tolbert came to the school unannounced in

January 2012 and went directly to the classroom. Defendant Ropella was immediately behind

Ms Tolbert and followed Ms Tolbert into the classroom. The classroom was laid out precisely as

the minor children had stated, with some of the African American children without desks and

others with desks facing the walls. It was not until this time that Defendant Ropella took any

remedial action, which was to place Defendant Olmsted on paid administrative leave.

18.     Defendant Olmsted has a significant discipline record with Defendant SPPS, including

incidents in 2003 wherein he forced a sixth grader to read aloud a birthday card with sexual

innuendos that Olmsted had given her to the class. During this same school year, Olmsted was

disciplined for requiring his sixth grade class to read a novel that was characterized as

"terrifying." In May 2011, Defendant Olmsted sexually assaulted a peer at a colleague

sponsored end-of-year party while teaching in the St Anthony Public Schools.

19.     Defendant Olmsted was permitted to resign retrospectively with the date of his actual

resignation in October 2012. In the interim, Defendant SPPS has halted its investigation, and

declined to discipline Defendant Olmsted.

20.     On information and belief, Defendant Ropella did not conduct a single observation of

Defendant Olmsted, despite the concerns raised by the Plaintiffs and Olmsted's disciplinary

history, but conducted 11 observations on at least two Master Teachers who were near vesting

their retirement.

21.    The minor plaintiffs have suffered significant emotional and psychological abuse as a

result of Defendant Olmsted's actions and Defendant Ropella's inaction.




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22.    Upon information and belief, Defendants SPPS and Ropella had reasonable cause to

suspect, based on facts that would cause a reasonable person in a similar position to suspect, that

the minor children, suffered and continued to suffer physical and mental injuries of a nature that

reasonably indicated racial discrimination and child abuse.

23.    At no time did Defendant Ropella report to a peace officer, a public children's services

agency, or the Minnesota Department of Education her suspicions that the minor children were

facing threats of suffering abuse. Indeed, even after presented with the clear evidence from

Plaintiff Tolbert's visit, Defendant Ropella filed no external reports.


                                       CLAIMS FOR RELIEF

24.    The averments of all paragraphs of this Complaint are incorporated as set forth herein.

                                            COUNT ONE

                      VIOLATION OF THE MINNESOTA HUMAN RIGHTS ACT
                                   MINN. STAT. CH. 363A

25.    At all times relevant herein, Plaintiffs were individuals entitled to the protections set forth

in the Minnesota Human Rights Act, Minn. Stat. Ch. 363A, against discrimination and

harassment in the education environment on the basis of their race.

26.    At all times material hereto, Defendant SPPS is an public institution within the meaning

of Minnesota Human Rights Act, Minn. Stat. § 363A.03, and as such is prohibited from

discriminating in the benefit of the public service on the basis of race.

27.    At all times material hereto, Defendants Ropella and Olmsted were agents,

representatives, and/or employees of the public agency or institution within the meaning of

Minnesota Human Rights Act, Minn. Stat. Ch. 363A, and as such were prohibited from

discriminating on the basis of race.


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28.     The MHRA provides that it is an unfair discriminatory practice to discriminate in any

manner in the full utilization of or benefit from any public agency or institution or the services

rendered thereby to any person because of race. Minn. Stat. § 363A.03, subd. 5(1).

29.     The Defendants intentionally and with deliberate indifference to Plaintiffs' rights failed

and refused to provide Plaintiffs with equal utilization of and benefit from District Defendants'

programs and services. Defendant Ropella also intentionally aided and abetted Defendant

Olmsted in depriving the Plaintiffs of their rights under the MHRA.

30.     Plaintiffs have been discriminated against by all Defendants on the basis of race in

violation of the Minnesota Human Rights Act, Minn. Stat. § 363A.03. Defendants ignored and

participated in persistent and severe race discrimination, harassment, and retaliation of Plaintiffs

at the behest of and in agreement with public school official creating, countenancing, aiding and

abetting, and expanding a hostile and abusive educational environment, substantially interfering

with Plaintiffs' education, and depriving Plaintiffs of equal access to and benefit and enjoyment

of public services.

31.     Plaintiffs have suffered a loss of educational opportunities, significant emotional distress,

out-of-pocket expenses, loss of earning capacity, and other damages as the result of Defendants

actions, and are entitled to treble damages from Defendants.

32.     The course of conduct of the Defendants was deliberate and intentional, was outrageous,

callous, malicious, and oppressive, of a continuing nature and was intended to and did in fact

cause significant injury to Plaintiffs, entitling them to relief.

33.     As a proximate result of Defendants' racial discrimination, harassment, and retaliation,

Plaintiffs suffered substantial losses in their right to equal access to public services, have

suffered impairment and damage to the Plaintiffs' good names and reputations, have suffered



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severe and lasting embarrassment, humiliation and anguish, and other incidental and

consequential damages and expenses, plus expenses and attorney's fees incurred in seeking

appropriate relief for their injuries, all to Plaintiffs' damage in an amount according to proof.

34.       No Caucasian students were subjected to daily derogatory remarks about their race,

parents, and schoolwork or deprived of the full educational benefit to which they were entitled

like Plaintiffs. Thus, Defendants behaved in violation of the Minnesota Human Rights Act,

thereby entitling Plaintiffs to an award of punitive damages.

35.     As a direct and proximate result of the Defendants' willful and wanton acts or omissions

in reckless disregard of minor children's rights, the Plaintiffs were subjected to extensive

humiliation, degradation, harassment, and have suffered severe emotional distr.ss, mental

anguish, and physical discomfort as a result of Defendants' actions, thus entitling Plaintiffs to an

award of punitive damages.

                                           COUNT Two

                     VIOLATION OF THE MINNESOTA STATE CONSTITUTION
                       MINN. CONST. ART. XIII, § 1/DUE PROCESS/1983



36.     The Plaintiffs have a constitutionally protected fundamental right to an education in

Minnesota.

37.     The Defendants, individually and jointly, deprived Plaintiffs of that rigl t without due

process while acting under the colour of law.

38.     The actions of the Defendants, including the deprivation of equal access to a public

education and protections as children of colour, were taken under color of state law, and have

deprived the Plaintiffs of their right to equal protection of the law as guaranteed by the

Fourteenth Amendment to the Constitution of the United States, the Constitution of the State of



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Minnesota rendering the Defendants liable to the Plaintiffs under 42 U.S.C. §1983 for

compensatory damages in such amounts as may be determined at trial, plus the Plaintiffs'

attorneys' fees and costs and such further legal and equitable relief as the Court or Jury deems

appropriate.

39.      As a proximate result of Defendants' actions, Plaintiffs have suffered and continue to

suffer substantial losses in educational opportunities and access, out-of-pocket costs associated

with providing such services, plus expenses and attorneys' fees incurred in attempting to obtain

and enforce Plaintiffs' rights under state law, all to Plaintiffs' damage in an amount according to

proof.

40.      As a further proximate result of Defendants' actions, Plaintiffs have suffered and continue

to suffer impairment and damage to Plaintiffs' good name and reputation by Defendant's Ropella

and SPPS' failure to investigate and remedy the allegations of harassment, discrimination and

hostile education environment.

41.      As a further proximate result of Defendants' actions, Plaintiffs have suffered and continue

to suffer severe and lasting embarrassment, humiliation and anguish, and other incidental and

consequential damages and expenses, all to Plaintiffs' damage in an amount according to proof.

42.      The conduct of the Defendants was outrageous, was done in a deliberate, callous,

malicious, fraudulent and oppressive manner intended to injure Plaintiffs, was with an improper

motive amounting to malice and spite caused by actual facts of personal actions, animosity,

jealousy, bias, hatred, and was done in conscious disregard of Plaintiffs' rights. Therefore,

Plaintiffs are entitled to an award of punitive damages from Defendants in an amount according

to proof




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43.     As a result of the discriminatory conduct and actions of Defendants herein alleged,

Plaintiffs have no effective, adequate, or complete remedy at law, because Defendants continue

to engage in the wrongful practices alleged herein by depriving the Plaintiffs of an investigation

into the allegations and taking effective remedial measures.

                                          COUNT THREE

                           NEGLIGENT RETENTION AND SUPERVISION

44.     The Defendants owed Plaintiffs a legal duty to hire, train, and supervise its teachers and

administrators. Defendants also owed a legal duty to protect and not harm the minor children as

a result of racial discrimination and harassment and retaliation. Defendant Olmsted had a

significant history of discipline for improper and sexually inappropriate conduct. Defendant

Ropella, targeted Master Teachers who were about vest their retirement for discipline and

dismissal rather than investigate the allegations against Defendant Olmsted.

45.     Based on the conduct alleged above, Defendants, on numerous occasions, breached a

legal duty owed to the Plaintiffs and were thereby negligent in their care and treatment of them,

and as a direct and proximate result thereof they were injured and damaged.

                                          COUNT FOUR

                 INTENTIONAL INFLICTION OF SERIOUS EMOTIONAL DISTRESS
                                   MINOR CHILDREN

46.     The Defendants intentionally, deliberately, and recklessly inflicted emotional distress

upon Plaintiffs by aiding, abetting, and condoning the actions of Defendants Ropella and

Olmsted to engage in racial discrimination, harassment, and retaliation, and exacerbated their

distress by blaming Plaintiffs for the inappropriate discriminatory conduct.




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47.     The Defendants, by and through its agents and representatives, intentionally, deliberately

and with reckless disregard for the Plaintiffs' rights, permitted the pattern and practice of racial

discrimination, and harassment to continue.

48.     All of the Defendants' actions were extreme and outrageous and as a direct and

proximate result Plaintiffs suffered severe emotional distress.

         WHEREFORE PLAINTIFFS PRAYS FOR THE FOLLOWING RELIEF:

1.      Judgment for the Plaintiffs against the Defendants, jointly and severally.

 2.    Compensatory damages against all the Defendants, jointly and severally, including,
without limit, non-economic damages for humiliation, embarrassment, lost reputation, and
emotional distress, in an amount to be determined at trial by jury, in excess of $50,000.

3.     Punitive damages against all Defendants, jointly and/or severally, in an amount to be
determined at trial by jury;

 4.     With respect to damages inflicted upon the minor children, treble compensatory damages
against the District, for violation of the student's rights under the Minnesota Human Rights Act,
in an amount to be determined at trial by jury.

 5.     Punitive damages against District up to $8,500 for each student for each the violations of
students' rights under the Minnesota Human Rights Act, in an amount to be determined at trial
by jury.

6.     Civil penalty against the District for violation of the students' rights under the Minnesota
Human Rights Act, payable to the State of Minnesota, in excess of $50,000, or in an amount to
be determined at trial by jury.

7.      Costs and disbursements.

8.   Expert witness fees and reasonable attorney's fees in accordance with the Minnesota
Human Rights Act.

9.     All other legal and equitable relief appropriate under the circumstances.




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                     PLAINTIFFS DEMAND A JURY TRIAL ON
                       ALL CLAIMS TRIABLE TO A JURY




                            Respectfully submitted,

                            KANE EDUCATION LAW, LL



Dated: 16 May 2012                                 an Kane
                            Margar               Kane /ID # 220243
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